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                            1 DOLL AMIR & ELEY LLP
                              HUNTER R. ELEY (SBN 224321)
                            2 heley@dollamir.com
                              MARGARET C. MCHUGH-SIVORE (SBN 298613)
                            3 mmchugh@dollamir.com
                              1888 Century Park East, Suite 1850
                            4 Los Angeles, California 90067
                              Tel: 310.557.9100
                            5 Fax: 310.557.9101
                            6 Attorneys for Defendant,
                              CAPITAL ONE BANK (USA), N.A.,
                            7 erroneously named as “Capital One Bank Usa NA”
                            8
                                                     UNITED STATES DISTRICT COURT
                            9
                                                   CENTRAL DISTRICT OF CALIFORNIA
                           10
                           11
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                                GEGHAM MARKOSYAN,                              Case No.
                           12
                                            Plaintiff,                         NOTICE OF REMOVAL OF
                           13                                                  ACTION TO THE UNITED
                                v.                                             STATES DISTRICT COURT
                           14                                                  FOR THE CENTRAL DISTRICT
                                Capital One Bank Usa NA,                       OF CALIFORNIA UNDER 28
                           15                                                  U.S.C. § 1441(a), 28 U.S.C. §1331
                                            Defendant.                         (FEDERAL QUESTION)
                           16
                                                                               [Los Angeles County Superior Court
                           17                                                  Case No. 16M03161]
                           18                                                  Complaint Filed: April 8, 2016
                                                                               Trial Date:    September 12, 2016
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                                 NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                   DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
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                            1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                            2 THE CENTRAL DISTRICT OF CALIFORNIA:
                            3         PLEASE TAKE NOTICE THAT Defendant Capital One Bank (USA), N.A.,
                            4 erroneously named as “Capital One Bank Usa NA” (“Capital One”), hereby invokes
                            5 this Court’s jurisdiction under the provisions of 28 U.S.C. § 1441(a), 28 U.S.C. §
                            6 1331 and removes this action from state court to federal court pursuant to 28 U.S.C. §
                            7 1446(b).
                            8 A.      JURISDICTION
                            9         1.     Capital One specifically alleges that this Court has federal question
                           10 jurisdiction over this action pursuant to 28 U.S.C. §§ 1441(a) and § 1331 because
                           11 Plaintiff Gegham Markosyan (“Plaintiff”) alleges cause of action arising under the
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                           12 federal Fair Credit Reporting Act (“FCRA”), codified at 15 U.S.C. §§ 1681 et seq.
                           13 B.      STATEMENT OF THE CASE
                           14         2.     On April 8, 2016, Plaintiff filed a Small Claims Complaint
                           15 (“Complaint”) in the Superior Court of the State of California for the County of Los
                           16 Angeles, designated as Case Number 16M03161 (the “Action”). Pursuant to 28
                           17 U.S.C. § 1446(a), a true and correct copy of all process, pleadings and orders served
                           18 upon Capital One in this case is attached hereto as Exhibit A.
                           19         3.     Plaintiff asserts one cause of action in his Complaint against Capital
                           20 One. The single cause of action includes a violation of the FCRA.
                           21 C.      BASIS FOR REMOVAL
                           22         4.     This Court has jurisdiction over this Action pursuant to 28 U.S.C. § 1331
                           23 because Plaintiff alleges causes of action under the FCRA, which are laws of the
                           24 United States.
                           25         5.     Specifically, Plaintiff’s Complaint alleges that Capital One violated the
                           26 FCRA. Adjudication of Plaintiff’s Complaint thus requires an analysis and
                           27 construction of federal law. Accordingly, this Action may be removed to this Court
                           28
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                                   NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                     DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
                          Case 2:16-cv-06730-RGK-MRW Document 1 Filed 09/07/16 Page 3 of 4 Page ID #:3



                            1 by Capital One pursuant to 28 U.S.C. § 1441(a) and § 1331 because this Court would
                            2 have had original jurisdiction founded on Plaintiff’s claims arising under the FCRA.
                            3 D.      ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
                            4         SATISFIED.
                            5         6.     Removal of this action is timely. Despite Plaintiff filing a proof of
                            6 service indicating that service had been effectuated on Capital One on April 6, 2016
                            7 via “CSC Lawyers Incorporating Service—Agent Capital One (“CSC”) (see Exhibit
                            8 B, Proof of Service filed by Plaintiff with Los Angeles Superior Court in underlying
                            9 small claims action, case number 16M03161), service of process was never received
                           10 by CSC as indicated in Plaintiff’s proof of service. See Exhibit C (Declaration of
                           11 Steve Kirvan for CSC). Indeed, Capital One only learned of this action after the
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                           12 Court served Capital One with a Minute Order, dated June 2, 2016, (attached hereto
                           13 as Exhibit D is a true and correct copy of the June 2, 2016 Minute Order) which set a
                           14 new trial date for July 27, 2016. Without knowledge of Plaintiff’s claim, Capital One
                           15 requested a trial postponement, and the Court set a new trial date of September 12,
                           16 2016. Thereafter, Capital One requested and obtained a copy of Plaintiff’s claim
                           17 from the Court. See Exhibit E (true and correct copy of Plaintiff’s Claim). Therefore,
                           18 this Notice of Removal is filed in accordance with the time period mandated by 28
                           19 U.S.C. §1446(b) and Rule 6(a)(1)(C) of the Federal Rules of Civil Procedure.
                           20         7.     Capital One is the only named Defendant in the action and therefore no
                           21 consent of additional parties is required.
                           22         8.     Venue lies in the United States District Court for the Central District of
                           23 California pursuant to 28 U.S.C. §1441(a) because the Action was filed in this
                           24 District.
                           25         9.     As stated above, pursuant to 28 U.S.C. § 1446(a), a true and correct copy
                           26 of all process, pleadings and orders received by Capital One from Plaintiff in the
                           27 Action are attached hereto as Exhibit A.
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                                   NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                     DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
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                            1        10.    Written notice of the filing of this Notice of Removal will be promptly
                            2 served upon Plaintiff. Capital One will also promptly file a copy of this Notice with
                            3 the Clerk of the Superior Court of California, County of Los Angeles.
                            4        WHEREFORE Capital One prays that the above Action now pending against
                            5 it in the Superior Court of the State of California, County of Los Angeles, be removed
                            6 therefrom to this Court.
                            7
                            8   DATED: September 7, 2016                  DOLL AMIR & ELEY LLP
                            9
                           10                                             By:_/s/ Margaret C. McHugh-Sivore_____
                                                                              HUNTER R. ELEY
                           11                                                 MARGARET C. MCHUGH-SIVORE
D OLL A MIR & E LEY LLP




                                                                          Attorneys for Defendant,
                           12                                             CAPITAL ONE BANK (USA),
                                                                          N.A., erroneously named as “Capital
                           13                                             One Bank Usa NA”
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                                  NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                    DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
